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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 MATTHEW KOTILA, individually and on        Case No. 1:22-cv-00704
 behalf of all others similarly situated,
                                            Hon. Hala Y. Jarbou
        Plaintiff,
 v.

 CHARTER FINANCIAL PUBLISHING
 NETWORK, INC.,                             CLASS ACTION

        Defendant.


 PLAINTIFF’S NOTICE OF SUPPLEMENTAL SUBMISSION OF SECOND
    AMENDED EXHIBIT IN SUPPORT OF PLAINTIFF’S MOTION
              FOR PROTECTIVE ORDER (ECF NO. 18)
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       Plaintiff Matthew Kotila, individually and on behalf of all others similarly

 situated, submits this supplemental submission of Plaintiff’s proposed Protective

 Order.

       On July 25, 2023, Plaintiff filed his Motion for Protective Order and moved

 the Court for entry of a proposed Confidentiality Agreement and Protective Order.

 ECF No. 18. Following submission of the aforementioned motion, the motion was

 referred to Magistrate Judge Ray Kent. A hearing on the motion was set for August

 22, 2023 (ECF No. 19), and then later reset for August 11, 2022. ECF No. 21.

       On August 11, 2023, at the time and place for the notice of hearing, counsel

 for Plaintiff and the Court discussed the filing of an Amended Proposed Protective

 Order.

       Plaintiff now files this notice of supplemental submission of Plaintiff’s

 Second 1 Amended Exhibit 1 to Plaintiff’s Motion for Protective Order (ECF No. 18)

 (Exhibit 1 hereto), an updated proposed Protective Order that more concisely details

 the contours of the Protective Order.

 Dated: August 11, 2023                  Respectfully Submitted,

                                         /s/ E. Powell Miller
                                         E. Powell Miller (P39487)
                                         THE MILLER LAW FIRM, P.C.
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                                         Rochester, MI 48307
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       Earlier on August 11, 2023, Plaintiff filed his (First) Amended Proposed
 Protective Order. ECF No. 23.


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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 11, 2023, a true and correct copy of the

 foregoing was served by electronic service via the Court’s CM/ECF service on all

 counsel or parties of record on the service list in the above-entitled action. I further

 certify that a true and correct copy of the foregoing is being sent this same date to

 the persons listed below via prepaid first-class U.S. Mail:

    • Charter Financial Publishing Network, Inc., c/o Cogency Global, 850 New
      Burton Road, Suite 201, Dover, DE 19904

                                         /s/ E. Powell Miller
                                         E. Powell Miller
